Case 2:04-CV-02432-.]DB-STA Document 59 Filed 06/15/05 Page 1 of 6 Page|D 82

FKH)£? f

 

IN THE UNITED sTATEs DISTRICT coURT 0§
FOR THE wEsTERN DISTRICT oF TENNESSEE '“ J%

 

l*
j l$ '*7 3: g
wEsTERN DIVISION twa l
<;,EF
b"ir:[_`), 'i:~{,': '1’:§2 R;F?T.'CUO
H !€!‘J' |.b’:._*-:~(";§,,f;j};}§

MEMPHIS~SHELBY COUNTY AIRPORT
AUTHORITY, et al.,

Plaintiff,

NO. 03~2649-B[P

'VS.

UNITED STATES FIRE INSURANCE
CO.,

Defendant.

 

ONEBEACON AMERICAN INSURANCE
COMPANY, et al.,

Plaintiff,
No. 04-2432-3 An L///

VS.

JACO AIRFIELD CONSTRUCTION,
INC., et al.,

Defendant.

 

ORDER DENYING PLAINTIFF’S MOTION FOR ATTORNEY’S FEES

 

Before the Court is Plaintiff OneBeacon American Insuranoe
Company’s (“OneBeaoon”) Motion for Attorney’s Fees, which is
incorporated in Plaintiff's motion to Compel, filed on January lB,

2005, (dkt #29), and in Plaintiff's response to Defendant JACO

This document entered on the docket sheetl \_:_p ' nce
with ama 5a and/or 79(a) FHCP on M" l

Case 2:04-CV-02432-.]DB-STA Document 59 Filed 06/15/05 Page 2 of 6 Page|D 83

Airfield, Construction, Inc.’s (“JACO”) appeal from the order
granting the Plaintiff’s motion to compel discovery. Defendant
filed its response on May'20, 2005. For the following reasons, the
motion is DENIED.

I . BACKGROUND

Plaintiff served its First Set of Interrogatories and First
Request for Production of Documents on JACO on September 21, 2004.
JACO served its responses on Plaintiff on January' 15, 2005.
Plaintiff contends that JACO's responses were inadequate because
they referred Plaintiff to depositions and other documents. In its
response, JACO asserted that the burden in producing the documents
and answering the interrogatories was the same for JACO as it was
for the Plaintiff, and therefore, JACO's discovery responses were
adequate because they properly referred Plaintiff to records where
discovery answers could have been ascertained. On March l, 2005,
Magistrate Judge Anderson granted the Plaintiff's motion to compel
and held that when answering interrogatories and document requests
the responding party can refer to depositions and other documents,
but the response must adopt and incorporate the deposition
testimony and state the exact page and line where the information
can be found. JACO objected to the order and filed an appeal with
the District Judge. On April 26, 2005, the District Judge affirmed
Judge Anderson's order and referred the Plaintiff’s motion for

attorney's fees to this Magistrate Judge. The Plaintiff seeks an

Case 2:04-CV-02432-.]DB-STA Document 59 Filed 06/15/05 Page 3 of 6 Page|D 84

award of reasonable attorney's fees incurred by its counsel in
moving to compel and in responding to JACO’s objections to Judge
Anderson's order.
II . ANALYSIS

Rule 37 of the Federal Rules of Civil Procedure states that if
a motion to compel is granted “the court shall . . . require the
party or deponent whose conduct necessitated the motion or the
party or attorney advising such conduct or both of them to pay the
moving party the reasonable expenses incurred in making the motion,
including attorney's fees unless the court finds that . . . the
opposing party’s nondisclosure, response, or objection was
substantially justified, or that other circumstances make an award
of expenses unjust.” Fed. R. Civ. P. 37(a)(4)(A). In the original
motion to compel, the Plaintiff argued that in order for JACO's
responses to the interrogatories and production requests to be
adequate, the answers must be complete in themselves and may not
refer to depositions or other documents. JACO argued in response
to the N©tion to compel that the given answers were adequate
because they properly referred the Plaintiff to records where the
desired information Could be obtained. In granting the motion to
compel, Judge Anderson held that references to depositions and
other documents are permissible if the responding party
specifically' identifies the page and line numbers where the

responsive information can be found. Therefore, because there was

Case 2:04-CV-02432-.]DB-STA Document 59 Filed 06/15/05 Page 4 of 6 Page|D 85

a reasonable dispute as to the specificity required of the
responses, JACO's objection to the motion to compel was
substantially justified. In addition, the Court is not inclined,
under the circumstances of this particular case, to sanction JACO
for exercising its right to appeal.

III. CONCLUSION

Accordingly, the Court DENIES the motion for attorney’s fees.

____F'__FM-/
K/K/`~:p@-\
TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

\.`K.JNL ly_, ?,ga§”
Date ‘

DISTRICT oURT - WEMRISRI F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CV-02432 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

R. Grattan Brown
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 ennifer 1\/1. Bermel

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby Pkwy

Ste. 106

1\/1emphis7 TN 38120

.1 eremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

Frank B. Thacher

BURCH PORTER & JOHNSON PLLC
130 N. Court Ave.

1\/1emphis7 TN 38103

.1 ennifer A. Sink

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Case 2:04-cV-02432-.]DB-STA Document 59 Filed 06/15/05 Page 6 of 6 Page|D 87

.1 erry B. McNally

MCKENNA LONG & ALDRlDGE, LLP
303 Peachtree St.7 NE

Ste. 5300

Atlanta, GA 30308

William O. Luckett

ROSSIE LUCKETT PARKER & R]DDER
1669 Kirby Pkwy

Ste. 106

1\/1emphis7 TN 38120

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Stephen D. Craney

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 ames W. Bruner

BROWN HAY & STEPHENS
205 S. 5th St.

Ste. 700

Springtield7 lL 62705--245

Honorable .1. Breen
US DISTRICT COURT

